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                       UNITED STATES BANKRUPTCY COURT
                             Eighth District of Minnesota


In Re:
         Jacob Arliss Lavan,
               Debtor.                                        Case No. 24-40159-KAC
                                                              Chapter 7

Last Four Digits of SSN: 0390
Address: 5100 Wayzata Blvd.
          Minneapolis, MN 55416


Regents of the University of Minnesota                        Case No. 24-04054
                                                              Adversary Proceeding
               Plaintiff,
                                                      AMENDED
vs.                                              ADVERSARY COMPLAINT

Jacob Arliss Lavan

               Defendant.


     As for its Amended Adversary Complaint, Plaintiff, Regents of the University of
Minnesota (hereinafter “plaintiff” or “University”) states and alleges as follows:

                                    JURISDICTION

 1.      The University brings this amended adversary complaint in the above-captioned
         case number 24-40159-KAC, which was filed on January 22, 2024, under Title 11,
         Chapter 7, United States Code. This Court therefore has jurisdiction over this
         proceeding, which arises in a case under the Bankruptcy Code and concerns debts
         and property of the Defendant and the bankruptcy estate, pursuant to 28 U.S.C.
         1334. This is a core proceeding under 11 U.S.C. 157(b)(2)(J) and venue is proper
         under 28 U.S.C. 1409(a).

                                    INTRODUCTION

 2.      This Amended Complaint objects to the discharge of a debt Defendant owes to the
         University to remedy a willful and malicious injury, pursuant to 11 U.S.C.
         523(a)(6), committed by Defendant against the University, on or around
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     November 21, 2022. Plaintiff respectfully requests that this Court not discharge
     the debt of $9,421.99 that Defendant owes the University, and that the University
     has been attempting to collect since December, 2022.

                                       FACTS

3.   On October 24, 2022, the University received a tuition check from a student and
     inadvertently, via a keyboard typo, posted the payment incorrectly into
     Defendant’s account. Within the University accounts receivable database system,
     this typo automatically generated a refund check to Defendant. A check was
     issued and mailed to Defendant as reimbursement for overpaid tuition fees, which
     was a mistake. Defendant, in fact, had not overpaid tuition from a previous
     semester and Defendant was not entitled to any refund from the University.

4.   The University discovered this mistake on December 6, 2022 and corrected it in
     the system shortly after it was discovered. Unfortunately, by the time the
     University discovered the error, the Defendant had already cashed the check.

5.   Defendant, without ever contacting the University about a $9,261.99 check he
     received, cashed the check on November 21, 2022. Defendant cashed this check
     despite knowing that he was not entitled to this payment from the University.

6.   Defendant was not an enrolled student at the University in October 2022; he had
     already graduated in Spring 2022 and had no balance on his account with the
     University. His tuition account had already been paid in full for several months.

7.   The University began attempting to contact Defendant to seek reimbursement for
     the check the Defendant cashed. After repeated unsuccessful attempts to contact
     the Defendant, the University sent Defendant an Invoice in January 2023 in an
     attempt to collect the amount of the mistakenly applied funds.

8.   On February 13, 2023, Defendant sent a letter to Plaintiff conceding that he cashed
     the check sent to him in the autumn of 2022. Defendant also acknowledged his
     receipt of the January 2023 invoice for repayment of those funds. Defendant,
     however, did not refund any of the money he owed to the University.

9.   The University made several attempts to contact Defendant between February 21
     and 24, 2023 with no success, in addition to many later attempts between May and
     November 2023. The University eventually turned the debt collection tasks over to
     a third-party collection agency as is typical with unpaid fees when the University
     has first attempted to make extensive collection efforts of the debt. That agency
     took its usual and customary steps to collect the debt from Defendant.


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10.   The University sent the Defendant detailed account data via FedEx following his
      request for this information. Additionally, the University continued with its efforts
      to contact Defendant for the return of the mistakenly applied funds.

11.   Defendant has taken no legal action against Plaintiff to date, other than to file
      bankruptcy on January 22, 2024, case number 24-40159-KAC, seeking discharge
      of this and other debts.

12.   To date, Defendant has not repaid any amount that he owes to the University.

                             Count I - Non-dischargeable debt

13.   The University incorporates by reference the allegations in paragraphs 1-12 as if
      fully set forth herein.

14.   Defendant’s actions constitute willful and malicious injury to the University.

15.   Defendant’s debt to the University is not dischargeable pursuant to Section
      523(a)(6).

      WHEREFORE, Plaintiff prays for relief that the Court:

      1.     Grant the University’s prayer for relief and not discharge the debt owed by

Defendant to the University;

      2.     Order Defendant to repay the debt he owes to the University as it relates to

this bankruptcy case;

      3.     In the Court’s discretion, Order all such other relief that the Court deems

equitable and just in accordance with the law.




                                  [Signature Page Follows]




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Dated: May 6, 2024                        Respectfully submitted,

                                          DOUGLAS R. PETERSON
                                          General Counsel
                                          University of Minnesota


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